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                         DISTRICT COURT OF THE VIRGIN ISLANDS
                          DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                   )
                                            )
                    Plaintiff,              )
                                            )
                    v.                      )      Case No. 3:17-cr-0026
                                            )
RON DELANO KUNTZ, KEAON WILSON,             )
and SHAWN MCINTOSH,                         )
                                            )
                    Defendants.             )
                                            )

                                         ORDER

      BEFORE THE COURT is Defendant Shawn McIntosh’s (“McIntosh”) Motion for New

Trial for Brady/Giglio Violation, filed on July 12, 2018. (ECF No. 411.) Defendants Keaon

Wilson (“Wilson”) and Ron Delano Kuntz (“Kuntz”) joined in the motion on July 14, 2018.

(ECF Nos. 413 and 414.) For the reasons stated in the Memorandum Opinion of even date,

the Defendants Shawn McIntosh, Keaon Wilson, Ron Delano Kuntz’s motions for new trial

based on Brady/Giglio violation, ECF Nos. 411, 413, and 414, are DENIED.



Dated: November 5, 2020                                /s/ Robert A. Molloy
                                                       ROBERT A. MOLLOY
                                                       District Judge
